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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00235 TLN

12                                  Plaintiff,            ORDER GRANTING REQUEST TO SEAL
                                                          DOCUMENTS
13                           v.

14   DUMITRU MARTIN,

15                                  Defendant.

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18          This matter came before the Court on the Government’s Request to Seal Documents, in which

19 the Government has requested the Court seal the following documents, pursuant to Local Rule 141(b),

20 until further order of the Court:

21 Defendant’s Motion for a New Trial

22          1.       Defendant’s entire Motion for a New Trial Under Rule 33 FRCP Based on Violations of

23                   the Duty to Disclose Under Brady v. Maryland, along with Defense Exhibit Nos. 2, 4, 5,

24                   6 (pages 9-12 only), 7, 8, 10 through 17, 19 (but not including the August 16, 2016 letter

25                   from the Government), 21, 29 through 31, 34 through 37, and Paragraphs 2, 3, and 14

26                   through 18 of Defense Exhibit 3, all of which were attached to Defendant’s motion;

27          2.       The Government’s opposition to Defendant’s New Trial Motion and Motion for

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 1                  Judgment of Acquittal and Gov’t Exhibit No. 5 to the opposition, redacted versions of

 2                  which have been filed on the public docket (ECF No. 237);

 3         3.       Defendant’s entire reply to Government’s opposition to Defendant’s New Trial Motion

 4                  and Motion for Judgment of Acquittal;

 5 Defendant’s Motion for Reconsideration

 6         4.       Pages 2:15-18, 6:23-26, 7:3-16, and footnote 1 on page 7 of Defendant’s Motion for

 7                  Reconsideration of CIPA Protective Order and for Disclosure of Government’s

 8                  Supporting Documents, along with Paragraphs 2, 3, and 14 through 18 of Defense

 9                  Exhibit 4, Defense Exhibit Nos. 5 (but not including the August 16, 2016 letter from the

10                  Government), and Defense Exhibit 6, all of which were attached to Defendant’s motion;

11         5.       The Government’s opposition to Defendant’s Motion for Reconsideration of the Court’s

12                  August 19, 2016 Order Under Rule 16, a redacted version of which has been filed on the

13                  public docket (ECF No. 236);

14         6.       Pages 4:24-27 (fn. 1), 5:17-28, 6:1-3, 6:5-7, 6:13-15, 6:19-23, and 6:27-28 (fn. 2) of

15                  Defendant’s reply to Government’s opposition to Defendant’s Motion for

16                  Reconsideration of the Court’s August 19, 2016 Order Under Rule 16;

17 Government’s Request to Seal Documents

18         7.       The Government’s entire Request to Seal Documents, along with the exhibits attached

19                  thereto;

20         8.       Defendant’s entire opposition to the Government’s Request to Seal Documents, along

21                  with the exhibits attached thereto;

22         9.       The Government’s reply to Defendant’s opposition to the Government’s Request to Seal

23                  Documents, a redacted version of which has been filed on the public docket (ECF No.

24                  246); and

25 August 16 Documents

26         10.      The “August 16 Documents” submitted pursuant to Court’s Minute Order of January 23,

27                  2017 (ECF No. 240).

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 1          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court

 2 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990) and In re Copley Press, Inc., 518 F.3d 1022,

 3 1028 (9th Cir. 2008). The Court held a hearing on the Government’s request to seal on January 26,

 4 2017. Having read and considered the papers submitted, the Defendant’s opposition, the Government’s

 5 reply, the arguments made at the hearing, and being fully informed, the Court GRANTS the

 6 Government’s Request and FINDS as follows:

 7          1.       The Government has provided sufficient notice to those interested in the proceedings as

 8 to the nature and basis of the document to be sealed.

 9          2.       Protecting the safety of a confidential human source or informant qualifies as a

10 compelling interest; accordingly, a particularized and compelling interest justifying nondisclosure of the

11 aforementioned documents in this case.

12          3.       Without the sealing of the aforementioned documents, or portions thereof, identified

13 above, there is a substantial likelihood that a confidential human source or informant’s safety will be

14 endangered.

15          4.       Anything less than sealing the aforementioned documents, or portions thereof, will

16 identify a confidential human source or informant and thereby jeopardize the safety of the confidential

17 human source or informant. As such, sealing the aforementioned documents is a narrowly tailored to

18 achieve the compelling interest found herein.

19          Accordingly,

20          IT IS HEREBY ORDERED that the following documents in the above-captioned case are to be

21 SEALED until further order of this Court:

22 Defendant’s Motion for a New Trial

23          1.       Defendant’s entire Motion for a New Trial Under Rule 33 FRCP Based on Violations of

24                   the Duty to Disclose Under Brady v. Maryland, along with Defense Exhibit Nos. 2, 4, 5,

25                   6 (pages 9-12 only), 7, 8, 10 through 17, 19 (but not including the August 16, 2016 letter

26                   from the Government), 21, 29 through 31, 34 through 37, and Paragraphs 2, 3, and 14

27                   through 18 of Defense Exhibit 3, all of which were attached to Defendant’s motion;

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 1         2.       The Government’s opposition to Defendant’s New Trial Motion and Motion for

 2                  Judgment of Acquittal and Gov’t Exhibit No. 5 to the opposition, redacted versions of

 3                  which have been filed on the public docket (ECF No. 237);

 4 ///

 5         3.       Defendant’s entire reply to Government’s opposition to Defendant’s New Trial Motion

 6                  and Motion for Judgment of Acquittal;

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 8         4.       Pages 2:15-18, 6:23-26, 7:3-16, and footnote 1 on page 7 of Defendant’s Motion for

 9                  Reconsideration of CIPA Protective Order and for Disclosure of Government’s

10                  Supporting Documents, along with Paragraphs 2, 3, and 14 through 18 of Defense

11                  Exhibit 4, Defense Exhibit Nos. 5 (but not including the August 16, 2016 letter from the

12                  Government), and Defense Exhibit 6, all of which were attached to Defendant’s motion;

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15                  public docket (ECF No. 236);

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26                  246); and

27 August 16 Documents

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 1        10.    The “August 16 Documents” submitted pursuant to Court’s Minute Order of January 23,

 2               2017 (ECF No. 240).

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 4        IT IS FURTHER ORDERED that the Clerk of the Court will file this Order on the Court’s

 5               public docket for this case.

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 7        IT IS SO ORDERED.

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 9 Dated: February 13, 2017

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12                                                       Troy L. Nunley
13                                                       United States District Judge

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